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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO



MARIA SUAREZ TORRES,

 Plaintiff,                                         CIVIL NO. 16-1849 (JAG)
   v.

RESTAURANTE FLAVOR CHINA, et al.,

 Defendants,




                                     JUDGMENT


              Pursuant to the Notice of Voluntary Dismissal filed by Plaintiff, Docket No. 15,
the Court hereby enters Judgment dismissing all of Plaintiff’s remaining claims WITH PREJUDICE.



IT IS SO ORDERED.


In San Juan, Puerto Rico this 26th day of August, 2016.




                                                     s/ Jay A. Garcia-Gregory
                                                     JAY A. GARCIA-GREGORY
                                                     U.S. DISTRICT COURT JUDGE
